      Case 4:15-cr-00224-BSM    Document 162    Filed 02/03/16   Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                         4:15CR00224-3 BSM


MARISSA DONANN SCROGGINS


                                    ORDER

      On January 27, 2016, the Court ordered Defendant to undergo a

psychological evaluation. Doc. 160. The United States Marshal has informed the

Court that Defendant has been designated to FDC Houston in Houston, Texas for

examination. Accordingly, the United States Marshal is directed to transport

Defendant to FDC Houston.

      IT IS THEREFORE ORDERED THAT:

      (1)   Pursuant to 18 U.S.C. § 4247(b) and (c), Defendant Marissa Donann

Scroggins is committed to the custody of the Attorney General for a period not to

exceed thirty (30) days for a psychological evaluation pursuant to 18 U.S.C. §

4241, and for a period not to exceed forty-five (45) days for a psychological

examination pursuant to 18 U.S.C. § 4242.
      Case 4:15-cr-00224-BSM     Document 162     Filed 02/03/16   Page 2 of 3




      (2)    Pursuant to 18 U.S.C. § 4247(c), the person conducting the

examination shall file a report with Chief United States District Judge Brian S.

Miller, with copies to counsel for Defendant and the Government. The

Government is represented by Assistant United States Attorney Anne Gardner,

U.S. Attorney’s Office, Eastern District of Arkansas, Post Office Box 1229, Little

Rock, AR 72203-1229, and Defendant is represented by Omar F. Greene, II, 813

West Third Street, Suite 200, Little Rock, AR 72201.

      (3)    The report must state whether Defendant Marissa Donann Scroggins

is suffering from a mental disease or defect that renders her mentally incompetent

to the extent that she is unable to understand the nature and consequences of the

proceedings against her or to assist properly in her defense; whether she was

mentally incompetent at the time of the offense; and, if she is mentally

incompetent, whether her release would create a substantial risk of bodily harm to

another person or serious damage to property of another person.

      (4)    Within fourteen (14) days from the date the report is received by the

Court and the parties, any party who requests a hearing regarding any issues in the

report or opposes the report must file a motion for a hearing or a motion in

opposition, including a concise statement of opposition to the report and

supporting authorities. If no motions are filed within fourteen (14) days, the report




                                         2
      Case 4:15-cr-00224-BSM      Document 162     Filed 02/03/16   Page 3 of 3




will be accepted or rejected, and the period of excludable delay will end. See 18

U.S.C. § 3161(h)(1)(A).

      (5)    The delay occasioned by the examination ordered herein shall be

excludable under the provisions of the Speedy Trial Act as provided by 18 U.S.C.

§ 3161(h)(1)(A) and (F). Subsection (F) excludes the delay resulting from

transportation to and from places of examination “except that any time consumed

in excess of ten days from the date [of] . . . an order directing such transportation,

and the defendant’s arrival at the destination shall be presumed to be

unreasonable[.]”

      DATED this 3rd day of February, 2016.




                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE




                                          3
